                              Case 1:19-cr-10104-ADB Document 29 Filed 04/22/19 Page 1 of 2
OAO 187 (Rev. 7/87) Exhibit and Witness List


                                                  UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF                                           MA


                           UNITED STATES
                                                                                                                  EXHIBIT AND WITNESS LIST
                                        V.
                                                                                                                       Case Number: 19-10104-ADB
                       DIOVANNI CARTER
 PRESIDING JUDGE                                                    PLAINTIFF=S ATTORNEY                                     DEFENDANT=S ATTORNEY
            David H. Hennessy, USMJ                                                  Wortmann, Mallard                                     Sultan
 TRIAL DATE (S)                                                     COURT REPORTER                                           COURTROOM DEPUTY
                          4/22/2019                                                          2:00 PM                                           Belpedio
 PLF.      DEF.       DATE                          ADMITTE
 NO.       NO.       OFFERED         MARKED           D                                                  DESCRIPTION OF EXHIBITS* AND WITNESSES

                                                                   Witnesses

                                                                   Christopher Kefalas




                                                                   Exhibits

      1              4/22/19                             X         CD containing video

      2              4/22/19                             X         Photos, 2 people entering store

      3              4/22/19                             X         ShotSpotter detailed Forensic Report Certification

      4              4/22/19                             X         Google Map annotated

      5              4/22/19                             X         Photos-White Chevy Malibu

      6              4/22/19                             X         Photos-While gloves with black markings

      7              4/22/19                             X         Hertz rental agreement

      8              4/22/19                             X         Hertz business records

      9              4/22/19                             X         Inventory list of stolen items

     10              4/22/19                             X         Photos of Darius Carter

     11              4/22/19                             X         Photos Side by side of Darius Carter

     12              4/22/19                             X        Photos of 2 firearms found under a rock

     13              4/22/19                             X         Photo of firearm recovered on Litchfield

     14              4/22/19                             X         Firearms Identification Section Report

     15              4/22/19                             X         Express Employment Records

     16              4/22/19                             X         Map Legend, Report SA Burke
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                      Page 1 of 2         Pages
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OAO 187A (Rev. 7/87)           EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                       CASE NO.
               United States              vs.           DIOVANNI CARTER
                                                                                                     19-10104-ADB
 PLF.   DEF.     DATE
                          MARKED   ADMITTED                         DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.     OFFERED

   17          4/22/19                X       Google Subscriber Information

   18          4/22/19                X       Google Account, Search History

   20          4/22/19                X       Summary of Boston Police Reports




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